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                                                                         21st Floor
                                                                         1251 Avenue of the Americas
                                                                         New York, NY 10020-1104
                                                                         Laura R. Handman
                                                                         212.489.8230 tel
                                                                         212.489.8340 fax
                                                                         laurahandman@dwt.com


November 17, 2020

Via ECF
Hon. Lorretta A. Preska
U.S. District Court for the Southern District of New York
500 Pearl Street
New York, New York 10007
Re:      Giuffre v. Dershowitz, No. 19-cv-3377-LAP
Dear Judge Preska:
       We represent non-party Sharon Churcher, who has been served by defendant Alan
Dershowitz with a subpoena for her testimony in the above-referenced case (the “Subpoena”).
We write pursuant to Rule 2.A of the Court’s Individual Practices to request a pre-motion
conference in anticipation of filing a motion to quash the Subpoena.
        Churcher is a journalist who first broke the story of Plaintiff Virginia Giuffre’s
victimization by Jeffrey Epstein in The Mail On Sunday in 2011, based on extensive in-person
interviews with her; over the years she wrote numerous articles about Epstein for The Mail, the
National Enquirer, Radar Online, and others, many based on her interviews with Ms. Giuffre.
        In the related case also before this Court, Giuffre v. Maxwell, No. 15-cv-7433, the
defendant, Ghislaine Maxwell, served a subpoena for Churcher’s testimony and documents
related to her communications with Giuffre. Churcher moved to quash the subpoena pursuant to
the New York Shield Law and First Amendment reporter’s privilege. On November 21, 2016,
Judge Sweet issued a thoroughly-reasoned opinion granting the motion to quash in full. See
Giuffre v. Maxwell, 221 F. Supp. 3d 472 (S.D.N.Y. 2016). The Court should quash the
Subpoena in this case on the same grounds.
        Although the Subpoena does not specify the precise topics on which Dershowitz intends
to question Churcher, in discussions with the undersigned, his counsel made clear that they
intend to inquire about her 2011 interviews with Giuffre to determine what, if anything, Giuffre
said about her interactions with Dershowitz from 2000-2002. They also stated their contention
that emails between Churcher and Giuffre show that Churcher was not acting as a journalist in
her interactions with Giuffre. As discussed below, Judge Sweet rejected that exact argument,
made based on the exact same emails, in Maxwell.
         The New York Shield Law Applies
        Now codified in Section 79-h of the Civil Rights Law, the reporter’s privilege has its
origins in the New York Constitution (art. I, § 8), which provides “the broadest possible
protection to ‘the sensitive role of gathering and disseminating news of public events.’” O’Neill
v. Oakgrove Constr., 71 N.Y.2d 521, 529 (1988) (citation omitted). As the New York Court of
Appeals has recognized, “New York public policy as embodied in the Constitution and our
current statutory scheme provides a mantle of protection for those who gather and report the




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news – and their confidential sources – that has been recognized as the strongest in the nation.”
Holmes v. Winter, 22 N.Y.3d 300, 310 (2013) (emphasis added).1
        The New York Shield Law provides absolute protection for the identities of confidential
sources and information “obtained or received in confidence” by a reporter. N.Y. Civ. Rights
Law § (“Section”) 79-h(b). The statute provides qualified protection for non-confidential
newsgathering information, which can be overcome only with a “clear and specific showing”
that the information is “highly material and relevant,” “critical or necessary to the maintenance
of a party’s claim” and “not obtainable from any alternative source.” Section 79-h(c). The party
seeking disclosure bears a heavy burden to clearly show that the information sought is so
“critical or necessary” to the case that the party’s claim or defense “virtually rises or falls” based
on the information, and that the party has “exhaust[ed] all other available sources” for the
information. In re Application to Quash Subpoena to NBC, 79 F.3d 346, 351, 353 (2d Cir. 1996)
(emphasis added). The Second Circuit has held that “impeachment material is not critical or
necessary to the maintenance or defense of a claim. Id. at 352. “The test is not merely that the
material be helpful or probative, but whether or not the defense of the action may be presented
without it.” Baker v. Goldman Sachs & Co., 669 F.3d 105, 107 (2d Cir. 2012).
        In light of Judge Sweet’s ruling in Maxwell, there can be no dispute that the Shield Law
applies to the Subpoena. To determine whether the reporter’s privilege applies, courts look to
whether the “primary relationship” between the parties “ha[s] as its basis the intent to
disseminate the information for the public.” von Bulow v. von Bulow, 811 F.2d 136, 145 (2d Cir.
1987). Judge Sweet had no trouble finding that “the ‘primary relationship’ between Churcher
and Plaintiff was that of a professional reporter gathering information from a source for the
Articles that were, in fact, subsequently published under Churcher’s byline over the next several
years.” 221 F. Supp. 3d at 478. Maxwell argued that the Shield Law should not apply because,
based on emails between Churcher and Giuffre that she filed under seal (see Maxwell, ECF No.
247-1), Churcher at some point “ceased to be a reporter,” and was instead acting as a friend and
advisor. 221 F. Supp. 3d at 478. Judge Sweet squarely rejected this argument. As he explained,
         [s]uccessful journalists must cultivate extensive networks of sources, and
         communicate with them regularly on a variety of topics. … Indeed, frequent,
         often informal communication with sources, even if not for the immediate
         purpose of gathering information for a specific article, is an integral part of the
         overall newsgathering process. Accordingly, the Shield Law does not narrowly
         apply only to the specific exchanges where the source conveys “news.” As the
         Second Circuit has held, the Shield law protects journalists from “inquiries into
         the newsgathering process,” as a whole. Baker[, 669 F.3d at 109].


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 A federal court sitting in diversity applies the privilege law of the state that governs the claims.
See, e.g., Maxwell¸ 221 F. Supp. 3d at 475. Here, the Court has already determined that New
York law applies to the claims in this case. See ECF No. 67 at 12-13.


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Id. at 479. The evidence showed that Churcher’s “intent from the very beginning of her
relationship with [Giuffre] was to gather information to publish news stories,” and that,
moreover, the emails Maxwell cited “show[ed] that even as [Churcher] was consulting with
[Giuffre] on seemingly separate topics, her overarching intent remained newsgathering.” Id. In
any event, here, Dershowitz has made clear that he intends to question Churcher specifically
about her interviews with Giuffre to find out what she may have said about Dershowitz at that
time. These interviews were the core of Churcher’s newsgathering process. Even if the Shield
Law did not apply to some later phase of Churcher and Giuffre’s relationship (a premise Judge
Sweet correctly rejected), there can be no question that the privilege covers the very interviews
that formed the basis of Churcher’s news stories about Giuffre.
         Dershowitz Cannot Overcome the Shield Law’s Protections
       As an initial matter, certain of the information Churcher and Giuffre discussed was on a
confidential, off-the-record basis, and/or involved other confidential sources. The Shield Law
would absolutely preclude any inquiry into that information. See Section 79(h).
        Although neither the fact that Giuffre was a source for Churcher, nor some of the
information they discussed, is confidential, Dershowitz cannot meet the high burden to overcome
the qualified privilege for non-confidential newsgathering information. He has attempted to
make Churcher’s interactions with Giuffre central to his claim, and even characterizes an email
between them as a “smoking gun” showing that Giuffre is “fabricat[ing]” her allegations against
him. Am. Counterclaim, ECF No. 127 ¶¶ 27-28. He also makes the conclusory allegation that
Churcher has somehow “confirmed that Giuffre never accused Dershowitz of having sex with
her.” Id. ¶ 29. But a litigant cannot establish that a claim “rises or falls” based on a journalist’s
testimony with ipse dixit assertions that this is so. Cf. ECF No. 144 at 8 (holding that
Dershowitz “ha[d] not beyond conclusory assertions demonstrated a congruence between the
Maxwell action and his own that would warrant” the breadth of unsealing he was requesting).
Moreover, this Court has repeatedly emphasized to the parties that “the central factual issue in
this case is narrow” (ECF No. 74 at 6) and “quite simple: did the parties have intimate contact or
not” (ECF No. 52 at 1). Dershowitz cannot possibly suggest that Churcher has any firsthand
knowledge of what did or did not happen between him and Giuffre; at most, he would be
inquiring about what Giuffre may have said to a journalist nearly a decade after the fact. Even
if, as Dershowitz plainly hopes, Giuffre did not tell Churcher that she had sex with him when
they spoke in 2011, that would have little bearing on what actually did or did not happen in
2000-02. In any event, Dershowitz has not remotely exhausted all alternative avenues for
adducing evidence that is probative of that question – for example from people who would have
direct knowledge of Giuffre, Epstein’s or Dershowitz’s activities in 2001-02 – as he also must do
to overcome the qualified privilege. Instead, this is precisely the type of “‘fishing expedition[]
into unpublished materials in the hope that some relevant information may turn up” that the
Shield Law protects against. Maxwell, 221 F. Supp. 3d at 477 (citation and alterations omitted).
         We look forward to discussing these issues further at a pre-motion conference.



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Respectfully Submitted,
Davis Wright Tremaine LLP
/s/ Laura R. Handman


cc:      All parties (via CM/ECF)




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